

People v Calhoun (2024 NY Slip Op 05290)





People v Calhoun


2024 NY Slip Op 05290


Decided on October 24, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 24, 2024

Before: Oing, J.P., Singh, Gesmer, González, Pitt-Burke, JJ. 


Ind No. 73868/22 Appeal No. 2884 Case No. 2023-04475 

[*1]The People of The State of New York, Respondent, 
vDeashe Calhoun Also Known as Deashae Calhoun, Defendant-Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (Jacquelyn Shelton of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (David Crowley of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (April A. Newbauer, J.), rendered August 10, 2023,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 24, 2024
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








